AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      Middle           District of        Tennessee

                    United States of America
                               v.                                          )
                                                                           )    Case No:       3:11-00082-6
                      Channin Ace Randolph                                 )
                                                                           )    USM No: 20693-075
Date of Original Judgment:         Jan. 25, 2013                           )
Date of Previous Amended Judgment:                                         )    Ronald C. Small
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of         the defendant     the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        85               months is reduced to               70 months              .

Pursuant to U.S.S.G. § 1B1.10(b)(2)(C), if the amount of time the defendant has already served as of the effective date of this order
exceeds the reduced term of imprisonment set forth above, the defendant’s sentence shall be reduced to “Time Served,” as of the
                                                    effective date of this order.
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          01/25/2013            shall remain in effect.
IT IS SO ORDERED.

Order Date:              8/21/2015
                                                                                                        Judge’s signature


Effective Date:              11/01/2015                                                   Aleta A. Trauger, U.S. District Judge
                     (if different from order date)                                                Printed name and title
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